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‘SPECIAL MATL . STATESVILLE, NC
OCT 9% 2018 DATE:June 29, 2018.
U.S. District Court
ATTENTION! Western District of N.C. LEGAL, MATL
Office of the Clerk USDC WD NC W.S. Attorneys Office Federal Public. Defenders Office
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i SPECIAL MAIL - OPEN ONLY IN PRESENCE OF INMATE
LABEL ALL MAIL PARCELS = PURSUANT TO FEDERAL BUREAU OF PRISONS -PROGRAM .
AS ‘FOLLOWS: STATEMENTS. # .5264.14 April 5, 2011 CORRESPONDENCE;

. - 5800.10 Nov. 3, 1995 (BOP) MATL MANAGEMENT MANUAL :

See Also Volume 28 C.F.R.. §§§ 540.18 Section 10;
540.19(b); 540.19 et. seq.; 540 Subparts B..& F.
FREEZE Ve GRIFFIN, ad F. 24 72, W75 (Oth Cir.

- . : . " 1988). denen Rare Beate

MR. / STEPHEN MICHAEL PAGE 75788-198 UNIT C-NORTH
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PETERSBURG, VIRGINIA 23804-1000

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Case 5:00-cr-00015-MOC Document 296 Filed 10/22/18 Page 1 of 6

 
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MR. STEPHEN MICHAEL PAGE. 75788-198 UNIT C—-NORTH
FEDERAL CORRECTIONAL COMPLEX
POSE OFFICE BOX 1000
PETERSBURG, WIRGINIA 23804-1000
Re: USA v. PAGE, 15 CR 00 '

Dear Office of the Clerk USDC WD NC STATESVILLE DIVISION;
Dear Office of the Clerk USCA4; _

Dear Federal _ Public Defenders Office WD NC;

Dear U.S. Attorneys Office WD NC;

Favored By: The ['RULE OF LENITY'];

Hughes v. U.S., Case No. 17-155 binding plea agreement and Amendment 782.
I'm addressing the Court and Federal Public Defender's Office wp Nc. seeking
appointment of (CJA) counsel. Career Offender U.S.S.G. § 4B1.1 is challengable
py virtue of Title 28 U.S.C. § 994, and Dimaya in turn has invalidated Title 18
U.S.C. § 16 definition as to 'crime of violerice’ as vague. See U.S. v- LaBonte,
520 U.S. 751, 117 S.Ct. 1637, 137 L.Ed.2d 1001 (1997) [No. 95-1726]:

("...In 1984, Congress created the Commission and charged it with "establish{-ing]
sentencing policies and practices for the Federal criminal justice system." 28 U.S.C. §
991; see Mistretta v. U.S., 488 U.S. 361, 367-370, 102 L.Ed. 714, 109 S.Ct. 647 (1989).
‘The commission, however, was not granted unbounded discretion. Instead, Congress articulated
general goals for federal sentencing and imposed upon the Commission a variety of specific
requirements. See §§ 994(b)9-(n). Among those requirements, Congress directed that the
Commission

"shall assure that the guidlebines specify a sentence to a term of imprisonment

at or near the maximum term authorized for categories of defendants in which the
defendant is eighteen years old or older and -

"(1) has been convicted of a felony that is -

"(A) a crime of violence; or

"(B) an offense described in section 401 of the Cmtrolled Substance Act

(21 U.s.c. § 841)...; and
"(2) has previously been convicted of two or more prior [such] felonies..."
28 U.S.C. 9 9O4(h) ...

The Commission sought to implement this directive by promulgating the "Career offender
Guidéline," which created a table of enhanced total offense levels to be used in calculating
sentences for "career offenders." U.S.S.G. Manual § 4Bl.1 (Nov. 1987) ...

...The basic drug distribution statute, 21 U-S.C. § 841 ... , has two relevant subsectims,
(a) and (b). Subsection (a) makes it a crime to "possess" a "controlled substance," such: as
cocaine, with “intent to distribute” it. Subsection (b) sets forth penalt ies-both minimum
and maximum penalties-for violating subsection (a). ... A later portion of that part increases

‘the minimum penalty to 10 years and maximum penalty to life if the offender has a previous
drug felony conviction. The Commissio's Career Offender Guideline treats the statutory
term authorized as if it referred to the "maximums" that § 841 provides except for this last
‘mentioned part. We must decide whether the Career Offender statute permits the Commission
‘to write this Career Offender Guideline-a Guideline that looks to the maximum sentence that
an individual criminal statute authorizes for recidivisim-perhaps the most important
offender characteristic. -.- The question that divides this Court is not about the wisdam of
this implementing interpretation. It is whether the "career offender" statute's words
"maximum term authorized" are open to the Commission's interpretation or whether they un-
ambiguously forbid it. In my view, the words, whether read themselves, read within: the

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MOC Document 296 Filed 10/22/18 Page 2 of 6
context of sentencing law, or.read against the technically defined ( a reading that
would leave out most statutory recidivism enhancements) or one might not. The language

of the statute, even if read as referting. to offenses, do not say-

- . Second, backgroimd sentencing law does not provide’ an unambiguous answer to the
"authorized by what" question. That background law includes a fundamental distinction bet
tween "offense characteristics" and "offender characteristics." This distinction underlies

the Guidelines’ basic structure, see supra, at 764-766, 137 L-Ed.2d, at 1014-1015; it is
esbodied in the Commission's authorizing statute, 28 U.S.C. §§ 994(c) cand (4), and it grows

cut of pre-Guideline sentencing law, --." (quoting ‘LaBonte id. ).

“And as of recent in 2018 United States v. Lee, 714 Fed. Appx. 979 (11th Cir. 2018) ©
No. 17-11690 it was noted by this Court's point to stipulate: ("...- Specifically, when a
drug offender is sentenced under career—offender guidelines range upon which his sentence:
is based is calculated ffrom § ABL.1, and not: 2D1.1{-].:United States v. Lawson, 686 F.3d.

i3l7, 1321 (11th Cir. 2012)").

Then 1; Stephen ™. Page have received an unconstitutional sentence, whereas, the
calculations were derived from § 2D1.1, though the court opted to enhance this very
calculation further by virtue of the Career-Offender Guideline. —

THEREFORE, I have reviewed United States w. Hairston 2018 U.S. Dist- LEXIS
12581 (W.D. Va., Jan. 25, 2018) No. 4:04-cr-00008-1 and find to understand, as well
‘to realize: ("... The Fourth Circuit has-heid that a valid waiver of appeal and colla-
teral-attack rights does net give a district court unfettered discretion in imposing
‘a sentence and that fundamental defects or.errors fall into a class of claims that
lie beyond the scope of any waiver. United States v- Martin, 961 F.2d 493, 496 (4th :
Cir. 1992) ... excess of the maximum penalty provided by statute.”) See also,
United States v. Surratt, 797 F.3d 240, --- 2015 WL 4591677, at *12 (4th Cir. 2015)
("{A] sentence imposed abowe the proper statutory maximum might present another

 

instance of an miawful sentence."). .
Further, prior felony convictions may fail qualification hereafter in post-Dimaya
Jook at Dunham v. United States, 2018 U-S. Dist. LEXIS 344 (W.D. N.C., Jom. 2, 2018)

 

("..- arguing that his sentence should be vacated and that he he should be resentenced <<:
without the career-offender enhancement ... no longer qualifies as a predicate felony
offense under U-S.S.G. § 481.2 in light of the Supreme Court's holding in Johnson ve
U. U.S; 135 S.Ct. 2351, 192 L.ed.2d 569 (2015). ‘Take note, that thereafter, when the
Supreme Court announced similar ‘language also id being as vague, became all encompassing
as to such similar language where. ever and afar to the scattered texts containing same
Frem §°924(c). to § 16 created an all encompassing holding to other texts of

language.
Jaw containing the very same similar language, which, is fully determined invalid and

vague. My Crwor Oftenlinr erihgsco pact tes pyc Ft Madby
Vehorow of 0-8. Se FOatg Curtlelpe Gaal yphetD>

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Case 5:00-cr-00015-MOC Document 296 Filed 10/22/18 Page 3 of 6
See Sessions v. Dimaya, 584 U-S. (2018) No. 15-1498 (Bench Opinion). ...

—_ P- 2 * [Defining "violent felony" as any. felony that ‘otherwise involves condact
"that presents a serious potential risk of physical injury to another,” 18.

— U-S-C- § 924(e}(2)(B) —— was: unconstitutionally "void for vagueness” under the
Fifth Amendment's Due Process Clause. Johnson v. United States, 576U.S. 1 +
Relying on-Johnsan, the Ninth Circuit held that. § 16(b), as incorporated into the
INA, was also unconstitutionally vague. Held: The Judgment is Affirmed]."

Clearly, section 994(h)(2) is what prompted the Commission to create the career offender
‘Guideline. This section treats convictions for "a crime of violence” as qualifying for an
enhanced punishment under the § 4B1.1 Chapter and Section of the U-S.S.G. Manual. Bat,
how..do we know what "a crime of violence" means? When, we turn to 18 U.S.C. § 16, the
same provision the Supreme Court partially struck down in Dimaya, which also is, the imple—

menting statute for the career offender Guideline, indeed partially relies on 18 U-S.C. §
16(b), held unconstitutionally vague in light of Dimaya, appears to be [my argument].

fo. invalidate the implementing statute of Titie. 28 U.S.C. § 994 that allowed
the Commission to create the “residual ciause” of the career offender Guideline.

WHEREBY, the Commission never had such authority, because the directive

explained by Congress, forward to:

("..-assure that the guidelines specify a sentence to a term of imprisonment
at or near the maximum term authorized for categories of defendants in which
is eighteen years or older and;
(1) has been convicted of a felony that is
(A) a crime of violence; or —_ .
(B) an offense described in section 461 of the Controlled Substance
Act (21 U.S.C. § 844), sections 1002(a), 1005, and 1609 of the
Controlled Substances Import and Export Act ... 3 and

(2) has previously been comvicted of two or more felonies, each of
which is =
(A) a crime of violence; or

(B) am offense described in section 401 of the Controlied Substances
Act (21 U.S.C. § 641), a

Specifically, Johnson has. been found to reach into the Guidelines at the Career

Offender similar language junctions. And having been found to reach into the

Guidelines by virtue of pre-Booker mandatory Guidelines Analysis, then too so is

the sentence imposed pursuant to my criminal case; PostBooker, only represents

the language is still similar, but, instead is advisory. Such advice is incorrect!

The creation of the Career Offender provision's language has not altered or changed:

Compare Crimimal Law Reporter Vol. 103; No. 11 June 13, 2018 page 280 Court Decisions
~ (BNA) ("'Vague Guideline Gets Federal Prisoners New Sentence" United States v. Cross,
2018 BI. 201713 7th Cir., No- 17-2282, 6/7/18. Two federal prisoners sentenced under
‘the mandatory residual elause of the U-5S. Sentencing Guidelines are entitled to
new sentences, the U.S. Court of. Appeals for the Seventh Circuit. said: June 7." )

— A —_—

Case 5:00-cr-00015-MOC Document 296 Filed 10/22/18 Page 4 of 6
And if, indeed Johnson survives Pre-Booker Reasoning and Analysis under the
seope of understanding stablish through this United States Supreme Court's views
and holdings establishing that it is know and very clear that the language as
invalidated in the Johnson Holding and. Decision has absolutely carried over to also
Dimaya's Similar Holding and Decision invalidating same language within another —
United States Code of Title 18's (Volume) ; partially, as well as in Johnson [means]
such similar language: ‘were—ever found in text is vague. Inclusive of the United
States Sentencing Guidel ines Marwal® s ‘Career. Offender ' _ provision Chy 4 Part B or
§ 4B1.1.et. seq., Before Booker” S. Holdings and Moreover after Booker's Holdings *%
because the language indeed is similar, whether advisory or mandatory versian-

CONCLUSION

WHEREFORE, as Amendment 782 is retroactive through Hughes v. United States,
Case No. 17-155 wherein two-level reduction. off the base offense level overules
Career Offender Applications cond[ucted] pursuant to § 2D1.1 calculation and not
§ 481.1 drug quantity calculation, wherein also, Johnson reaches into these same

Guidelines because {of=vagueness] irregardless if mandatory or advisory since .
similarity does not dissipate — and advice is indeed incorrect -

A Challenge hereto is sought through assistance of counse] and or by virtue
under pro per appearance herein, herewith; hereof. Vacate, Correct, and Set Aside
sentence imposed. Award two-level :reduction im sentence Base Offemse Level and
amend adjustment of career offender ehhancément, as applied improperly, incorrectly,
‘and unconstitutionally. Sentence Calculations were derived from U.S.S.G. § 2D1-.1
not 4BI.1 until adjusted calculation factor, which is impermissible. Dimaya —-—
was an all encompassing ruling as to. Johnson's Holding, and reasoning otherwise ~
is an unequal application of the law. In the face of incorrect legal advice no

advisory data may be deemed valid or correct.
: RESPECTFULLY SUBMITTED.

YOUR U.S.S.G. 'CAREER OFFENDER’ PROVISION THEREFORE IS INVALID AS VAGUE TOO! V/

In violation of my Constitutiongl Right under the Fifth Amendment -

  

 

Footnote:

None of Movant" Ss prior convictions qualify as
‘crimes of violence' either or serious drug offenses. [

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Case 5:00-cr-00015-MOC Document 296 Filed 10/22/18 Page 5 of 6
Certificate.: of Service

I, Stephen Michael Page, declare and state pursuant to Title 18 U.S.C. §

1746 that I have placed in the FCC Petersburg Legal Mail Deposit Window an

Original and 2 True and Correct Copies of:

of Service.

Letter Petition with this Certificate

Properly sealed and addressed to these setforth as follows by prepaid

First Class U.S. Postal Mail Service Postages:

[Original & 1 True & Correct Copy];

Office of the Clerk
200 Broad Street, Room 304
Statesville, ,North Carolina 28677

The above is true and correct.

Signed under tthe pains and penalties of perjury.

Executed on [xd DAY OF pteabere_. 2018. -

Mailed on:

—-67~

[1 True & Correct Copy];

-U.S. Attorneys Office
WD NC STATESVILLE VIA CHARLOTTE
227 West Rade Street, Suite 1650
Charlotte, North Carolina 28202

   
  

Case 5:00-cr-00015-MOC Document 296 Filed 10/22/18 Page 6 of 6
